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     'IlbAO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
                Sheet I




                                               UNITED STATES DISTRICT COUR13                                                    26 lUi 8: itS
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                                     ~LL:T                  T
                                                                                                                                      ! "i_: r G,".   \,;t:~ h; :',

                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE I'f.P"
                                         v.                                        (For Offenses Committed On, or After November 1, 19~1JuTY

                          ROSARIO MERCADO (9)                                      Case Nwnber: 09CR7ID-JLS
                                                                                    WARD STAFFORD CLAY
                                                                                   Defendant's Attorney
    REGISTRATION NO. 13368298

    o
    THE DEFENDANT:
    181 pleaded guilty to count(s) ONE OF THE INDICTMENT
    o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                               Count
    Title & Section                           Nature of Offense                                                                               Number(s)
18 USC ]962(d)                        CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS THROUGH A                                                      ]

                                      PATTERN OF RACKETEERING ACTIVITY




        The defendant is sentenced as provided in pages 2 through _ _.:; .3_ _ o fthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o   The defendant has been found not guilty on count(s)
                                                             ------------------------------
 181 Count(s) (REMAINING COUNTS)                                     0               is        arel8l dismissed on the motion of the United States.
 181 Assessment: $1 00.00 WAIVED

 181 Fine wai ved                                    o    Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attomey for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notilY the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               AUGUST ]6,2013




                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                                      09CR71 O-JLS
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AO 245B (CASO} (Rev. 12111) Judgment in a Criminal Case
             Sheet 2 -- Probation
                                                                                                            Judgment-Page        2     of    _--",3_ __
DEFENDANT: ROSARIO MERCADO (9)                                                                        a
CASE NUMBER: 09CR710-JLS
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
 FIVE (5) YEARS

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September /3, /994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with die requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 1690 I, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                       ST ANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.



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       AD 245B (CASD) (Rev. 12/11 Judgment in a Criminal Case
                  Sheet 3 - Special Conditions
                                                                                                         Judgment-Page ~ of _.-;..3_ _
       DEFENDANT: ROSARIO MERCADO (9)                                                              II
       CASE NUMBER: 09CR710-JLS




                                             SPECIAL CONDITIONS OF SUPERVISION
[8] Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
[8] Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
  officer, if directed.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Not associate with members ofthe Mexican Mafia or any criminal street gang.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
D Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

[8] Be on Home Detention for 18 months with no GPS monitoring




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